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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF DELAWARE

    UROGEN PHARMA LTD., and UROGEN
    PHARMA, INC.,

                                      Plaintiffs,

                     v.
                                                           Civil Action No. ____________
    TEVA PHARMACEUTICALS, INC.,
    TEVA PHARMACEUTICALS USA, INC.,
    and TEVA PHARMACEUTICAL
    INDUSTRIES LTD.

                                      Defendants.


                      SUPPLEMENTAL INFORMATION FOR PATENT CASES
                 INVOLVING AN ABBREVIATED NEW DRUG APPLICATION (ANDA)


               Plaintiffs hereby provide the information below with respect to the deadlines set forth

      in 21 U.S.C. 355(j):


           Date Patentee(s) Received Notice:             February 25, 2024

           Date of Expiration of Patents:                January 20, 2031

           Stay Deadline:                                No earlier than April 15, 20271




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    Current expiration of Orphan Drug Exclusivity.
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Dated: April 2, 2024                    MCCARTER & ENGLISH, LLP

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